Case: 3:12-cr-50040 Document #: 1 Filed: 07/16/12 Page 1 of 15 PagelD #:1

 

 

 

 

 

 

 

PROB 22 DOCKET NUMBER (Tran. Court)
{Rev, 2/88) CR 10-122-1
TRANSFER OF JURISDICTION
DOCKET NUMBER (Ree. Court)
[ACR 50040
NAME AND ADDRESS OF PROBATIONER/SUPERVISED RELEASEE: DISTRICT DIVISION
LEE PRUNTY F J L E D NORTHERN DISTRICT OF _ | Cedar Rapids
IOWA
NAME OF SENTENCING JUDGE
JUL I 6 2012 The Honorable Linda R, Reade, Chief U.S. District Judge
DATES OF PROBATION/SUPERVISED FROM TO
THOMAS G. BRUTON RELEASE: 06/06/2012 | 06/05/2014

 

 

 

t
OFFENSE

18 U.S.C. §§ 2 and 157(3) - Aiding and Abetting Bankruptcy Fraud

 

PART 1 - ORDER TRANSFERRING JURISDICTION

 

UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF IOWA

 

IT IS HEREBY ORDERED that pursuant to 18 U.S.C. 3605 the jurisdiction of the probationer or supervised
releasee named above be transferred with the records of the Court to the United States District Court for the Northern
District of Illinois upon that Court’s order of acceptance of jurisdiction. This Court hereby expressly consents that the
period of probation or supervised release may be changed by the District Court to which this transfer is made without
further inquiry of this Court.*

 

bed SI \ itive

/
Date Unitegtaces District Judge /

 

”

*This sentence may be deleted in the discretion of the transferring Court.

 

PART 2 - ORDER ACCEPTING JURISDICTION

 

UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF ILLINOIS

 

 

IT 18 HEREBY ORDERED that jurisdiction over the above-named probationer/supervised releasee be accepted
and assumed by this Court from and after the entry of this order.

  

4 fof... }
PL SS 20}2 ()

Effective Date United States District ude 9)

  

 

Frederick J. Kapala, Rockford

I, the undersignad Clerk of the United States District
Court for the Northern District of lowa, do certify that
the foregoing is a true copy of an original document
remaining on-ile and record In my office.

seal of said Court
WITN hand and seal 0 ee
this day of at ’

Lf tZ

 

 

 
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CLOSED
U.S. District Court
Northern District of lowa (Cedar Rapids)
CRIMINAL DOCKET FOR CASE #: 1:10-cr-00122-LRR-1
Internal Use Only

Case title: USA v. Prunty Date Filed: 11/24/2010
Date Terminated: 04/05/2011

Interested Party

US Probation represented by uspNotify
Email: pocrecm@ianp.uscourts.gov
ATTORNEY TO BE NOTICED

 

Assigned to: Chief Judge Linda R
Reade

Referred to: Magistrate Judge Jon S
Scoles

Defendant (1)

Lee Prunty
TERMINATED: 04/05/2011

1, the undersigned Clerk of the United States District
Court for the Northern District of iowa, do certify thet

the foregoing is a true copy of an original document
remaining on file and record in my office.

WIT my hand and-seal'of said Court
vie O day otal 2
8 RobertL. Phelps, Ctork

y.

Deputy

Pending Counts

18:157(3) and 2 BANKRUPTCY
FRAUD

(1)

represented by

Daniel M Purdom

Hinshaw & Culbertson, LLP
4343 Commerce Court

Suite 415

ECF

Lisle, IL 60532

630 505 0010

Fax: 505 0959

Email: dpurdom@hinshawlaw.com
LEAD ATTORNEY

PRO HAC VICE

ATTORNEY TO BE NOTICED
Designation: Retained

Disposition

12 months imprisonment on Count 1
of the Amended Information. 2 years
supervised release on Count 1 of the
Amended Information. $100.00
assessment (paid).

07/11/2012 3:46 PM

 

 

 
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2 of 6

\

Highest Offense Level (Opening)
Felony

 

 

Terminated Counts Disposition

None

Highest Offense Level

(Terminated)

None

Complaints Disposition

None

Plaintiff

USA represented by Charles J Williams

US Attorney's Office

Northern District of lowa

401 First Street SE

Hach Building, Suite 400
*ECF

Cedar Rapids, IA 52401-1825
319 363 6333

Fax: 363 1990

Email: cj.williams@usdoj.gov
TERMINATED: 12/06/2010
LEAD ATTORNEY
ATTORNEY TO BE NOTICED

Sean R Berry

US Attorney's Office

Northern District of lowa

401 First Street SE

Hach Building, Suite 400

ECF

Cedar Rapids, IA 52401-1825
319 363 6333

Fax: 363 1990

Email: sean.berry@usdoj.gov
LEAD ATTORNEY
ATTORNEY TO BE NOTICED

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Date Filed

#

Docket Text

 

11/24/2010

Judge update in case as to Lee Prunty. Chief Judge Linda R Reade
and Magistrate Judge Jon S Scoles added. Conflicts checked for
parties, AUSA and attorney Purdom, none found. (skm) (Entered:
11/24/2010)

 

11/24/2010

 

(Court only) CRIMINAL Cover Sheet by USA as to Defendant Lee
Prunty (USA, USM, USP). (skm) (Entered: 11/24/2010)

 

11/24/2010

INFORMATION as to Lee Prunty, count 1. (USA, USP, USM) (copy
w/NEF and ECF Registration form to atty Purdom) (skm) (Entered:
11/24/2010)

 

11/24/2010

Tes)

NOTICE of Hearings as to Defendant Lee Prunty: Initial
Appearance, Arraignment and Plea Hearing set for 12/1/2010 at
11:00 AM in 4200 C Street SW, Building B, Courtroom 2 before
Magistrate Judge Jon S Scoles. (copy w/NEF to atty Purdom) (skm)
(Main Document 3 replaced on 11/24/2010 with signed version)
(skm). (Entered: 11/24/2010)

 

11/29/2010

Set Deadline as to Defendant Lee Prunty - Check Status 12/02/2010
to ensure Waiver of Indictment has been filed (kfs) (Entered:
11/29/2010)

 

11/30/2010

&

MOTION for Leave to Appear Pro Hac Vice as to Attorney Daniel M.
Purdom by Defendant Lee Prunty. (Attachments: # 1 Supplement
Certificate of Good Standing) (Purdom, Daniel) Modified text on
12/01/2010 (kfs) (Entered: 11/30/2010)

 

11/30/2010

ion

NOTICE of Consent to Entry of a Plea of Guilty by Defendant Lee
Prunty (Williams, Charles) (Entered: 11/30/2010)

 

11/30/2010

Io

WAIVER OF INDICTMENT by Defendant Lee Prunty (Williams,
Charles) (Entered: 11/30/2010)

 

11/30/2010

IN

RULE 11 Letter by USA as to Defendant Lee Prunty (Attachments: #
1 Sealed Exhibit 1- signed plea agreement) (Williams, Charles)
Modified on 12/1/2010 to seal exhibit (pac). (Entered: 11/30/2010)

 

11/30/2010

Ico

AMENDED Information by USA as to Defendant Lee Prunty,
amending 2 Information (USA, USM, USP, atty Purdom) (skm)
(Entered: 11/30/2010)

 

11/30/2010

Ico

ORDER granting 4 Motion for Admission Pro Hac Vice as to Lee
Prunty (1). Attorney Daniel M. Purdom authorized to appear on
behalf of Defendant. Signed by Magistrate Judge Jon S Scoles on
11/30/2010. (Stigler, Karo) (Entered: 11/30/2010)

 

 

12/01/2010

 

 

 

(Court only) ***STAFF Note: Conflict check performed pursuant to
the addition of attorney Daniel M Purdom (per 4 Motion for Leave to
Appear Pro Hac Vice) - No conflicts identified (kfs) (Entered:

 

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42/01/2010)

 

12/01/2010

MINUTE Entry for proceedings held before Magistrate Judge Jon S
Scoles: Initial Appearance, Arraignment and Plea Hearing as to
Defendant Lee Prunty held on 12/1/2010. Attorney Daniel M Purdom
for defendant, and defendant pled guilty to Count 1 of the Amended
Information. Defendant released. (Government's Exhibit 1 filed
previously at 7 ) (Court Reporter Patrice Murray) (pac) (Entered:
12/01/2010)

 

12/01/2010

ORDER Setting Conditions of Release as to Defendant Lee Prunty.
Signed by Magistrate Judge Jon S Scoles on 12/1/2010. (pac)
(Entered: 12/01/2010)

 

12/01/2010

REPORT AND RECOMMENDATION to Accept Guilty Plea as to
Count 1 of the Amended Information as to Lee Prunty. Objections to
R&R due by 12/15/2010. Signed by Magistrate Judge Jon S Scoles
on 12/1/2010. (Stigler, Karo) (Entered: 12/01/2010)

 

12/01/2010

CONSENT to Inspection of Presentence Investigation Report by
Defendant Lee Prunty. (pac) (Entered: 12/01/2010)

 

12/01/2010

WAIVER of Objections to 12 Report and Recommendations by
Defendant Lee Prunty. (pac) (Entered: 12/01/2010)

 

12/01/2010

ORDER Accepting Report and Recommendation re Plea as to the
Amended Information regarding Defendant Lee Prunty for 12 Report
and Recommendation to Accept Guilty Plea to Count 1. Signed by
Chief Judge Linda R Reade on 12/01/2010. (skm) (Entered:
12/01/2010)

 

12/02/2010

 

SEALED Offense Conduct Statement as to Defendant Lee Prunty
(Williams, Charles) (Entered: 12/02/2010)

 

12/06/2010

NOTICE of Attorney Appearance Sean R Berry appearing for USA.
(Berry, Sean) (Entered: 12/06/2010)

 

12/07/2010

(Court only) ***STAFF Note: Conflict check performed pursuant to
the addition of attorney Sean R Berry (See 17 Notice of Attorney
Appearance) - No conflicts identified as to judges, parties or
attorneys (kfs) (Entered: 12/07/2010)

 

12/07/2010

(Court only) SEALED Notice Regarding United States Passport for
Criminal Defendant by US Probation as to Defendant Lee Prunty
(USP). (skm) (Entered: 12/07/2010)

 

12/16/2010

UNRESISTED Motion for Additional Time to File Defendant's
Version of the Facts by Lee Prunty. (Purdom, Daniel) Modified on
12/17/2010 to remove repetitive text. (src) (Entered: 12/16/2010)

 

 

12/17/2010

 

 

ORDER granting 19 Unresisted Motion for Additional Time to File
Defendant's Version of the Facts as to Lee Prunty (1). Deadline

 

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extended to 1/14/2011. Signed by Magistrate Judge Jon S Scoles on
12/17/2010. (Stigler, Karo) (Entered: 12/17/2010)

 

01/21/2011

SEALED Draft Presentence Investigation Report by USA, US
Probation, Lee Prunty as to Defendant Lee Prunty (Attachments: # 1
Instructions for Objecting) (Cannon, Mary) (Entered: 01/21/2011)

 

02/04/2011

SEALED Objection to Presentence Investigation Report By Plaintiff
as to Lee Prunty 21 (Berry, Sean) (Entered: 02/04/2011)

 

02/10/2011

 

*SEALED* OBJECTIONS to 21 Presentence Investigation Report
filed by Defendant Lee Prunty (Purdom, Daniel) Modified to add link
on 02/11/2011 (kfs) Modified to seal entry on 02/11/2011 (kfs)
(Entered: 02/10/2011)

 

02/18/2011

SEALED Presentence Investigation Report by USA, US Probation,
Lee Prunty as to Defendant Lee Prunty (Attachments: # 1
Sentencing Worksheet) (Cannon, Mary) (Entered: 02/18/2011)

 

02/22/2011

ORDER Setting Hearing as to Defendant Lee Prunty. Sentencing set
for 4/4/2011 at 09:00 AM, 4200 C Street SW, Building B, Courtroom
1 before Chief Judge Linda R Reade. Signed by Chief Judge Linda
R Reade on 2/22/2011. (dll) (Entered: 02/22/2011)

 

03/21/2011

SENTENCING Memorandum by Defendant Lee Prunty (Attachment
# 1 Exhibit A) (Purdom, Daniel) Modified text on 03/22/2011 (kfs)
(Entered: 03/21/2011)

 

03/21/2011

SENTENCING Memorandum by USA as to Defendant Lee Prunty
(Berry, Sean) (Entered: 03/21/2011)

 

03/22/2011

28

TEXT ONLY ORDER Resetting Hearing as to Defendant Lee Prunty.
Sentencing reset for 4/4/2011 at 03:30 PM, 4200 C Street SW,
Building B, Courtroom 1 before Chief Judge Linda R Reade. Signed
by Chief Judge Linda R Reade on 3/22/2011. (dll) (Entered:
03/22/2011)

 

03/25/2011

SENTENCING Memorandum (Supplement to) by Defendant Lee
Prunty (Attachments: # 1 Exhibit A) (Purdom, Daniel) Modified on
3/28/2011 to add link to 26 Sentencing Memorandum (des).
(Entered: 03/25/2011)

 

04/01/2011

SENTENCING Memorandum SECOND SUPPLEMENT RE: 26 and
29 filed by Defendant Lee Prunty (Attachment # 1 Exhibit A)
(Purdom, Daniel) Modified to add link on 04/04/2011 (kfs) (Entered:
04/01/2011)

 

 

04/04/2011

 

 

SENTENCING Memorandum (THIRD SUPPLEMENT) RE: 26 , 29
and 30 filed by Defendant Lee Prunty (Attachment # 1 Exhibit A)
(Purdom, Daniel) Modified to add links on 04/05/2011 (kfs) (Entered:
04/04/2011)

 

07/11/2012 3:46 PM

 

 

 
IAND Version 5.1.1 Case: 3:12-cr-50040 Document #: 1 Filed e57/26f 25 Page FeO Eg PE PF B27 23759234941 731-...

04/05/2011 32 MINUTE Entry for proceedings held before Chief Judge Linda R
Reade: Sentencing held on 4/4/2011 as to defendant Lee Prunty.
Defendant released. (Court Reporter Patrice Murray) (pac) Modified
on 4/5/2011 to correct date (pac). (Entered: 04/05/2011)

04/05/2011 33 JUDGMENT as to Defendant Lee Prunty, Count 1: 12 months
imprisonment on Count 1 of the Amended Information. 2 years
supervised release on Count 1 of the Amended Information. $100.00
assessment (paid). Signed by Chief Judge Linda R Reade on
04/05/2011. (skm) (Entered: 04/05/2011)

 

 

04/05/2011 34 SEALED Statement of Reasons by USA, US Probation, Lee Prunty
as to Defendant Lee Prunty (Cannon, Mary) (Entered: 04/05/2011)

06/13/2011 35 Judgment Returned Executed as to Defendant Lee Prunty delivered
on 6/8/11 to FPC Duluth, MN. (ksy) (Entered: 06/13/2011)

(Court only) SEALED Notice Regarding US Passport for Criminal
Defendant by US Probation as to Defendant Lee Prunty. (bjb)
(Entered: 07/05/2011)

07/11/2012 37 | Supervised Release Jurisdiction Transferred to USDC Northern
District of Illinois as to Defendant Lee Prunty. Transmitted Transfer
of Jurisdiction form, with certified copies of indictment, judgment and
docket sheet. Signed by Chief Judge Linda R Reade on 6/28/12 and
Judge Frederick J. Kapala on 7/3/12 (ksy) (Entered: 07/11/2012)

 

 

 

07/05/2011

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6 of 6 07/11/2012 3:46 PM

 

 
Case: 3:12-cr-50040 Document #: 1 Filed: 07/16/12 Page 8 of 15 PagelD #:8
Case 1:10-cr-00122-LRR Document 2 Filed 11/24/10 Page 1 of 2

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF IOWA
CEDAR RAPIDS DIVISION

UNITED STATES OF AMERICA,

)
) NO. CR 10-122
Plaintiff, )
) COUNT 1:
VS. ) 18 U.S.C. § 157
) Bankruptcy Fraud
LEE PRUNTY, )
)
Defendant. )
INFORMATION
The United States Attorney charges:
COUNT 1

On or about January 13, 2005, in the Northern District of lowa, defendant LEE
PRUNTY, with the intent to devise a scheme and artifice to defraud, and for the purpose
of executing and concealing a scheme and artifice to defraud, aided and abetted another
in making a false and fraudulent representation concerning and in relation to a
proceeding under Title 11, United States Code. Specifically, in relation to the bankruptcy
case of Walterman Implement, Inc., pending in the United States Bankruptcy Court for
the Northern District of lowa, Case No. 05-07284, defendant caused another person,
M.R., to send a letter to the bankruptcy trustee falsely claiming M.R. had rented a
combine and left it at defendant’s business, when in truth and in fact, as the defendant
then knew, M.R. had never rented or possessed the combine and did not leave the

combine at defendant’s business.

|, tae undersigned Clerk of the United States District
Court for the Northern District of lowa, do certty thet
the foregoing is a true copy of an original document
remaining on file and record In-my office,

WITNE: hand and of said Court
1 , ir
ie Le. day of 00.
_ Robert!

Ips/Cterk

     
 

 

 
Case: 3:12-cr-50040 Document #: 1 Filed: 07/16/12 Page 9 of 15 PagelD #:9
Case 1:10-cr-00122-LRR Document 2 Filed 11/24/10 Page 2 of 2

This was in violation of Title 18, United States Code, Sections 2 and 157(3).
STEPHANIE M. ROSE
United States Attorney
By: s/ C.J. WILLIAMS

C.J. WILLIAMS
Assistant United States Attorney

 
Case: 3:12-cr-50040 Document #: 1 Filed: 07/16/12 Page 10 of 15 PagelD #:10
Case 1:10-cr-00122-LRR Document 33 Filed 04/05/11 Page 1 of 6
AQA4SB° (Rev. 11/07) Judgment in a Criminal Case

 

 

* Sheet |
United States District Court
NORTHERN DISTRICT OF IOWA
UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE
Vv.
LEE PRUNTY Case Number: CR 10-122-1-LRR
USM Number: 11354-029

Daniel M, Purdom
Defendant’s Attomey

THE DEFENDANT:

Wd pleaded guilty to count(s) 1 of the Amended Information filed on 11/30/2010

{1 pleaded nolo contendere to count(s)
which was accepted by the court.

 

Cl) was found guilty on count(s)
after a plea of not guilty.

 

The defendant is adjudicated guilty of these offenses:

Title & Section Nature of Offense Offense Ended Count
18 U.S.C. §§ 2 and 157(3) Aiding and Abetting Bankruptcy Fraud 01/13/2086 1
The defendant is sentenced as provided in pages 2 through__ 6 _ of this judgment. The sentence is imposed pursuant

to the Sentencing Reform Act of 1984.

(The defendant has been found not guilty on count(s)
© Count : is/are dismissed on the motion of the United States.

 

___ IT 48 ORDERED that the defendant must notify the United States attorney for this district within 30 days of an change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. lfordered to pay
restitution, the defendant must notify the court and United States attomey of material change in economic circumstances.

 

 

 

  
  
 

April 4, 2011
Date of Inipgsition of Jy area fr ”
ed LD) Dea
a _ forthe Clerk o he United States District Signature ee Officer ‘ A
aregoing fe erp District of lowa, do certify that ,
me fare a « true copy of an original docunon Linda R. Reade
WITN ng on a record in my office. Chief U.S. District Court Judge
wie LL ‘by of ang -geal pf said Court Nanie and Title of Judicial Officer
0 .
0 Goss)

By

 

Date

 

 
Case: 3:12-cr-50040 Document #: 1 Filed: 07/16/12 Page 11 of 15 PagelD #:11
Case 1:10-cr-00122-LRR Document 33 Filed 04/05/11 Page 2 of 6

AO 245B (Rev. 11/07) Judgment in Criminal Case

. Sheet 2 — Imprisonment
eee ees
Judgment — Page 2 of 6
DEFENDANT: LEE PRUNTY
CASE NUMBER: CR 10-122-1-LRR

IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total

term of: 12 months on Count J of the Amended Information.

® The court makes the following recommendations to the Bureau of Prisons:

That the defendant be designated to a Bureau of Prisons facility as close to the defendant’s family as possible,
commensurate with the defendant’s security and custody classification needs.

That the defendant participate in a Bureau of Prisons’ Vocational Training Program specializing in an area in
which vocational testing bas identified the defendant has an interest and/or ability.

oO The defendant is remanded to the custody of the United States Marshal.

a The defendant shall surrender to the United States Marshal for this district:
O at O am O pm. on
O asnotified by the United States Marshal.

 

@ = The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
Q before 2 p.m. on
@ as notified by the United States Marshal.
Q asnotified by the Probation or Pretrial Services Office.

 

 

 

 

 

 

 

RETURN
[have executed this judgment as follows:
Defendant delivered on to
at , With a certified copy of this judgment.
UNITED STATES MARSHAL
By

 

DEPUTY UNITED STATES MARSHAL

 

 
Case: 3:12-cr-50040 Document #: 1 Filed: 07/16/12 Page 12 of 15 PagelD #:12
Case 1:10-cr-00122-LRR Document 33 Filed 04/05/11 Page 3 of 6

AO24SB (Rev. 11/07) Judgment in a Criminal Case

. Sheet 3 — Supervised Release
Sec PS SST epee orn TTT TN
Sudgment—Page 3 of
DEFENDANT: LEE PRUNTY

CASE NUMBER: CR 10-122-1-LRR
SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release fora term of; 2 years on Count 1 of the Amended
Information.

The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.

The defendant shal! not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.

@ = The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
future substance abuse, (Check, if applicable.)

@ = The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
@ = The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

O The defendant shall register with the state sex offender cegistration agency in the state where the defendant resides, works, or is a
student, as directed by the probation officer. (Check, if applicable.)

O = The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

If this judgment imposes a fine or restitution, it is a condition of supervised retease that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.

The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

STANDARD CONDITIONS OF SUPERVISION

1) the defendant shall not leave the judicial district without the permission of the court or probation officer;

2) the Gofendam shall report to the probation officer and shall submit a truthful and complete written report within the first five days
of each month;

3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
4) the defendant shall support his or her dependents and meet other family responsibilities;

5) the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
acceptable reasons;

6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
controlled substance or any paraphemalia related to any controlled substances, except as prescribed by a physician;

8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered,

9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted
of a felony, unless granted permission to do so by the probation officer;

10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation
of any contraband observed in plain view of the probation officer;

1) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
olicer;

12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
permission of the court; and

13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
criminal record or personal history or characteristics and shall permit the probation officer to make such notifications and to
confirm the defendant’s compliance with such notification requirement.

 

 
Case: 3:12-cr-50040 Document #: 1 Filed: 07/16/12 page 13 of 15 PagelD #:13
Case 1:10-cr-00122-LRR Document 33 Filed 04/05/11 Page 4 of 6

AQ 24SB (Rev. 11/07) Judgment in a Criminal Case
. Sheet 3C — Supervised Release
—— SS _={=[{""=a=a=n={={{[[naq@=a__—o_=_aSaaaaa]EEE
Judgment— 4 f 6
DEFENDANT: LEE PRUNTY Samer °
CASE NUMBER: CR 10-122-1-LRR

SPECIAL CONDITIONS OF SUPERVISION

The defendant must comply with the following special conditions as ordered by the Court and implemented by the U.S. Probation Office:

None

Upon a finding of a violation of supervision, | understand the Court may: (1) revoke supervision; (2) extend the term of
supervision; and/or (3) modify the condition of supervision.

These conditions have been read to me. 1 fully understand the conditions and have been provided a copy of them.

 

Defendant ate

U:S. Probation Officer/Designated Witness ate

 

 
Case: 3:12-cr-50040 Document #: 1 Filed: 07/16/12 Page 14 of 15 PagelD #:14
Case 1:10-cr-00122-LRR Document 33 Filed 04/05/11 Page 5 of 6

AQ 245B (Rev. 1/07) Judgment in o Criminal Case

* Sheet 5 — Criminal Monetary Penallics

—e————Oarnracaeecoro Judgment — Page JS of Ug
DEFENDANT: LEE PRUNTY
CASE NUMBER: CR 10-122-1-LRR

CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

Assessment Fine Restitution
TOTALS $ 100 (paid) S$ 0 $0
The determination of restitution is deferred until . An Amended Judgment in a Criminal Case(AO 245C) will be entered
after such determination.

OG The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
the priority order or peroentage eayment coluntn Yelow. However, puruant to isuse. § 3664 all nonfederal victims must be paid
before the United States is paid.

Name of Payee otal Loss* Restitution Ordered Priority or Percentage
TOTALS $ $

 

O Restitution amount ordered pursuant to plea agreement $

 

© The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

0 ‘The court determined that the defendant does not have the ability to pay interest, and it is ordered that:
C1 the interest requirement is waived forthe © fine © restitution.

© the interest requirement forthe O fine CO srestitution is modified as follows:

* Findings for the total amount of losses are required under Chapters 109A, I10, LI0A, and 113A of Title 18, United States Code, for offenses
sammitted on or after September 13, 1994, but before April 23, 1996.

 

 
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AO 245B * (Rev. 11/07) Judgment in o Criminal Case

2 Sheet 6 — Criminal Monetary Penalties

Judgment — Page _ 6 of 6
DEFENDANT: LEE PRUNTY

CASE NUMBER: CR 10-122-1-LRR
SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are duc as follows:

A O Lump sum payment of S due immediately, balance due

Q not later than .or
O) inaccordance with OF C, O D, O E, or O Fbelow;or

O Payment to begin immediately (may be combined with OC, OD,or O F below); or

C OO Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
{e.g., months or years), to commence (e.g., 30 or 60 days) after the date of this judgment; or

D OQ Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
{e.g., months or years), to commence (e.g., 30 or 60 days) after release from imprisonment to a
term of supervision; or

E (Payment during the term of supervised release will commence within (¢.g.. 30 or 60 days) after release from
imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F @ Special instructions regarding the payment of criminal monetary penalties:
The $100 special assessment was paid on 12/01/2010, receipt HLAN110005519.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, ent of criminal monetary penalties is due durin
imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financial

Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

O Joint and Several

Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
and corresponding payee, if appropriate.

OQ - The defendant shail pay the cost of prosecution.

Oo

The defendant shall pay the following court cost(s):
Q The defendant shall forfeit the defendant’s interest in the following property to the United States:

Payments shal? be applied in the following order: () assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.

 

 
